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                                            IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MARYLAND

                       ZANAIB MALIK                             *
                       3544 Split Rail Lane
                       Ellicott City, Maryland 21042            *

                              Plaintiff,                        *                   1:22-cv-03356
                                                                         Case No.: _________________________

                       v.                                       *

                       CENTENNIAL MEDICAL GROUP, LLC *
                       8186 Lark Brown Road
                       Elkridge, Maryland 21075      *

                              SERVE ON: RESIDENT AGENT *
                              Steven Geller, M.D.
                              9501 Old Annapolis Road, Suite 200 *
                              Ellicott City MD 21042
                                                                 *
                       CENTENNIAL MEDICAL GROUP, PA                           JURY TRIAL DEMAND
                       8186 Lark Brown Road                      *
                       Elkridge, Maryland 21075
                                                                 *
                              SERVE ON: RESIDENT AGENT
                              Ramsay Whitworth                   *
                              400 E. Pratt Street
                              Baltimore, MD 21202                *

                       PREMIER MEDICAL MANAGEMENT, LLC
                       5005 Signal Bell Lane, Suite 200
                       Clarksville, MD 21029            *

                              SERVE ON: RESIDENT AGENT          *
                              Ramsay Whitworth
                              400 E. Pratt Street               *
                              Baltimore, MD 21202
                                                                *
                       FIRST CALL URGENT CARE, LLC.
                       5005 Signal Bell Lane, Suite 200         *
                       Clarksville, MD 21029
                                                                *
COLLINS LEGAL GROUP
                              SERVE ON: RESIDENT AGENT
20 S. Charles Street          Ramsay Whitworth                  *
Suite 901
Baltimore, MD 21201           400 E. Pratt Street
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                       MEGAN QUINN, in her individual and            *
                       official capacities
                       5005 Signal Bell Lane, Suite 200              *
                       Clarksville, MD 21029
                                                                     *
                              Defendants.
                         *      *      *        *         *      *   *   *             *       *      *       *      *
                                                                 COMPLAINT

                              NOW COMES Plaintiff Zanaib Malik (hereinafter “Plaintiff”), by and through her

                       counsel, Tiffani S. Collins, Esquire and Collins Legal Group, LLC and hereby files this

                       Complaint for damages against Defendants Centennial Medical Group, LLC, Centennial

                       Medical Group, P.A., Premier Medical Management, LLC, First Call Urgent Care and Megan

                       Quinn (hereinafter “Defendants” collectively) and in support alleges:

                                                              NATURE OF THE CASE

                          1. This is an action for an award of damages, declaratory and injunctive relief, attorneys

                       ‘fees and other relief, to redress Defendants’ unlawful employment practices against Plaintiff,

                       including its discriminatory treatment and harassment of Plaintiff due to her race, its unlawful

                       retaliation against and wrongful discharge of Plaintiff after she complained about unlawful

                       discrimination in the workplace.

                          2. This action arises under Title of the Civil Rights Act of 1964, 42 U.S.C. §2000(e),

                       etseq., as amended by the Civil Rights Act of 1991, at 42 U.S.C. §1981(a) ("Title VII") and the

                       Maryland Fair Employment Practices Act, etseq.

                                                       JURISDICTION AND VENUE

                          3. This court has jurisdiction over the claims in this complaint under 28 U.S.C. §§1331 and

                       1343(a).
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                           4. The venue in this court is proper under 28 U.S.C. §1391(a) because a substantial part of

                       the events and or omission giving rise to this action, including the unlawful employment

                       practices alleged herein, occurred in this district.




                                                     ADMINISTRATIVE PROCEDURES

                           5. Prior to the filing of this Complaint, Plaintiff filed a charge of discrimination with the

                       Equal Employment Opportunity Commission (“EEOC”), alleging violations of Title VII of the

                       Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. (“Title VII”). Plaintiff’s EEOC charge

                       arises out of many of the same facts alleged herein that pertain to her Section 1981 retaliation.

                           6. All conditions precedent to the institution of this suit have been fulfilled and Plaintiff

                       has satisfied all jurisdictional prerequisites to the maintenance of this action.

                           7. On September 30, 2022, a Notice of Right to Sue was issued by the United States Equal

                       Employment Opportunity Commission and this action has been filed within ninety (90) days of

                       receipt of said notice.

                                                                    PARTIES

                           8. At all times relevant herein, Plaintiff is and was a resident of Howard County, Maryland

                       and was employed by the Defendants as an "employee" within the meaning of applicable law.

                           9. Defendant Centennial Medical Group, LLC (hereinafter “Centennial LLC”) is a limited

                       liability company registered in Maryland with a principal place of business in Howard County,

                       Maryland.

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                          10. Defendant Centennial Medical Group, PA (hereinafter “Centennial PA”) is a

                       professional association registered in Maryland with a principal place of business in Howard

                       County, Maryland.

                          11. Defendant Premier Medical Management, LLC (hereinafter “Premier Medical”) is a

                       limited liability company registered in Maryland with a principal place of business in Howard

                       County, Maryland.

                          12. Defendant First Call Urgent Care, LLC (hereinafter “First Call”) is a limited liability

                       company registered in Maryland with a principal place of business in Howard County,

                       Maryland.

                          13. Defendant Megan Quin is the Office manager for Defendants and resides in Maryland.

                       At all times relevant hereto, Defendant Quinn directly participated in the discriminatory and

                       otherwise unlawful employment decisions and actions taken against Plaintiff and was a

                       “covered employer” and/or an “aider” or “abettor” under all relevant statutes.

                                       FACTUAL ALLEGATIONS RELATED TO ALL CLAIMS

                          14. Plaintiff is a south Asian woman of color and former employee of the Defendants.

                          15. Plaintiff was employed by Defendants from October 2020 until she was wrongfully

                       terminated in May of 2021.

                          16. Plaintiff was hired by Defendants for the position of medical assistant in their Elkridge

                       office located in Howard County, Maryland.

                          17. As a medical assistant, Plaintiff was responsible for day-to-day administrative duties,

                       preparing patients and assisting the doctors employed by the Defendants.

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                          18. After being hired, Plaintiff was provided with a company handbook identified
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                          19. This handbook provided a procedure for employees to report harassment and

                       discrimination.

                          20. Plaintiff’s direct supervisor was Defendant Megan Quinn.

                          21. Defendant Quinn is also employed by Defendants Centennial LLS, Centennial PA,

                       Premier Medical and First Call as a supervisor.

                          22. Defendant Quinn was acting as an employee, agent and representative of Defendants

                       Centennial LLS, Centennial PA, Premier Medical and First Call in her supervision of Plaintiff.

                          23. While working under Defendant Quinn, Plaintiff was subject to a pattern of

                       inappropriate comments, disproportionate scrutiny of her work, discriminatory standards and

                       expectations and derogatory comments regarding her race, color and the race and color of other

                       similar employees by Defendant Quinn.

                          24. This desperate treatment, harassment and discrimination by Defendant was frequent and

                       unrelenting.

                          25. Plaintiff was frequently singled out by Defendant Quinn and subjected to higher

                       expectations than her white coworkers in comparable positions.

                          26. In addition, Plaintiff, and other coworkers of color, were denied schedule flexibility

                       during the COVID pandemic, while white coworkers were granted similar flexibility to play

                       sports.

                          27. Throughout her employment, Plaintiff’s work product and job performance were

                       unjustly overly scrutinized and demeaned by Defendant Quinn.

                          28. In addition, Defendant Quinn regularly and openly used historically, racially charged

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                       adjectives and terms to describe employees of color and their job performance.
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                          29. Plaintiff and other employees of color were often publicly criticized, berated and spoken

                       to in demeaning and unprofessional tones by Defendants’ white office manager Defendant

                       Quinn.

                          30. Defendants’ white employees were not subjected to such acts.

                          31. Through constant harassment, Defendants, their employees, agents and or

                       representatives repeatedly subjected Plaintiff to race and color-based discrimination and created

                       a hostile work environment for Plaintiff.

                          32. This discrimination included unwarranted disciplinary actions, harassment and public

                       berating in front of coworkers.

                          33. Plaintiff complied with all internal policies and procedures outlined in the handbook

                       regarding the reporting of harassment and discrimination in the workplace when she reported

                       Defendant Quinn’s discrimination and harassment to Defendants’ Director of operations.

                          34. However, Defendants took no action and made no effort to investigate and or resolve

                       Plaintiff’s complaints.

                          35. After reporting the harassment and discrimination, Defendant Quinn retaliated by

                       escalated their discriminatory and harassing acts toward Plaintiff.

                          36. Defendant’s human resources officer directed Plaintiff not to meet with Defendant

                       Quinn alone.

                          37. As a direct act of retaliation, Plaintiff’s employment was abruptly terminated by

                       Defendants.

                          38. As a result of the discrimination, harassments, retaliation and wrongful termination

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                       Plaintiff has suffered severe physical, psychological and emotional injuries and incurred
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                                           COUNT I: RACE AND COLOR DISCRIMINATION
                                  (Violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §1981)

                                Plaintiff fully incorporates and asserts the allegations contained in the previous

                       paragraphs as if fully restated herein.

                          39. Defendants have discriminated against Plaintiff in violation of the Maryland Fair

                       Employment Practices Act by subjecting her to discrimination, harassment and disparate

                       treatment because of her race and color.

                          40.      As a direct and proximate result of the Defendants’ unlawful discriminatory conduct

                       in violation of the Maryland Fair Employment Practices Ac, Plaintiff has suffered and continues

                       to suffer financial and economic damages as well as severe mental anguish and emotional

                       distress, including but not limited to, depression, humiliation, embarrassment, stress and

                       anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering.

                          41. Defendants’ unlawful discriminatory conduct constitutes a willful and wanton violation

                       of the Maryland Fair Employment Practices Act, was outrageous and malicious, was intended to

                       injure Plaintiff, and was done with reckless indifference to Plaintiff’s civil rights, entitling

                       Plaintiff to an award of punitive damages

                                            COUNT II: RACE AND COLOR DISCRIMINATION
                                           (Violation of Maryland Fair Employment Practices Act)

                                Plaintiff fully incorporates and asserts the allegations contained in the previous

                       paragraphs as if fully restated herein.

                          42.      Defendants have discriminated against Plaintiff in violation of the Maryland Fair

                       Employment Practices Act by subjecting her to discrimination, harassment and disparate

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                       treatment because of her race and color.
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                           43.     As a direct and proximate result of the Defendants’ unlawful discriminatory conduct

                       in violation of the Maryland Fair Employment Practices Ac, Plaintiff has suffered and continues

                       to suffer financial and economic damages as well as severe mental anguish and emotional

                       distress, including but not limited to, depression, humiliation, embarrassment, stress and

                       anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering.

                           44.     Defendants’ unlawful discriminatory conduct constitutes a willful and wanton

                       violation of the Maryland Fair Employment Practices Act, was outrageous and malicious, was

                       intended to injure Plaintiff, and was done with reckless indifference to Plaintiff’s civil rights,

                       entitling Plaintiff to an award of punitive damages.


                                                       COUNT III: RETALIATION
                                  (Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §1981)

                           Plaintiff fully incorporates and asserts the allegations contained in the previous paragraphs

                       as if fully set forth herein

                           45. Defendant have violated Section 1981 by subjecting Plaintiff to retaliation for her

                       protected complaints and opposition to Quinn’s harassment, discriminatory comments and

                       treatment based on her race and color.

                           46. As a direct and proximate result of Defendants’ harassment, discrimination and unlawful

                       treatment, Plaintiff has suffered and continues to suffer monetary and/or economic damages,

                       including, but not limited to, loss of past and future income, compensation and benefits for

                       which she is entitled to an award of monetary damages and other relief.

                           47. As a direct and proximate result of Defendants’ unlawful retaliatory conduct in violation

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                       of Section 1981, Plaintiff has suffered and continues to suffer severe mental anguish and
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                       and anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering for which

                       she is entitled to an award of monetary damages and other relief.

                           48. Defendants’ unlawful retaliatory conduct constitutes a willful and wanton violation of

                       Section 1981, was outrageous and malicious, was intended to injure Plaintiff, and was done

                       with conscious disregard of Plaintiff’s civil rights, entitling Plaintiff to an award of punitive

                       damages.

                                                         COUNT III: RETALIATION
                                         (Violation of the Maryland Fair Employment Practices Act)

                           Plaintiff fully incorporates and asserts the allegations contained in the previous paragraphs

                       as if fully set forth herein

                           49. Defendant have violated the Maryland Fair Employment Practices Act by subjecting

                       Plaintiff to retaliation for her protected complaints and opposition to Quinn’s harassment,

                       discriminatory comments and treatment based on her race and color.

                           50. As a direct and proximate result of Defendants’ harassment, discrimination and unlawful

                       treatment, Plaintiff has suffered and continues to suffer monetary and/or economic damages,

                       including, but not limited to, loss of past and future income, compensation and benefits for

                       which she is entitled to an award of monetary damages and other relief.

                           51. As a direct and proximate result of Defendants’ unlawful retaliatory conduct in violation

                       of the Maryland Fair Employment Practices Act, Plaintiff has suffered and continues to suffer

                       severe mental anguish and emotional distress, including, but not limited to, depression,

                       humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-confidence, and

                       emotional pain and suffering for which she is entitled to an award of monetary damages and
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                           52. Defendants’ unlawful retaliatory conduct constitutes a willful and wanton violation of

                       the Maryland Fair Employment Practices Act, was outrageous and malicious, was intended to

                       injure Plaintiff, and was done with conscious disregard of Plaintiff’s civil rights, entitling

                       Plaintiff to an award of punitive damages.




                                                            PRAYER FOR RELIEF


                               WHEREFORE, Plaintiff prays that this Honorable Court enter judgment in her favor

                       and against Defendants, containing the following relief:

                               A.     A declaratory judgment that the actions, conduct and practices of Defendants

                       complained of herein violate the laws of the United States and the State of Maryland;

                               B.     An order directing Defendants to take such affirmative action as is necessary to

                       ensure that the effects of these unlawful employment practices and other unlawful conduct are

                       eliminated;

                               C.     An award of damages in an amount to be determined at trial, plus prejudgment

                       interest, to compensate Plaintiff for all monetary and/or economic damages, including, but not

                       limited to, the loss of past and future income, wages, compensation, job security and other

                       benefits of employment;

                               D.     An award of damages in an amount to be determined at trial, plus prejudgment

                       interest, to compensate Plaintiff for all non-monetary and/or compensatory damages, including,

                       but not limited to, compensation for her severe mental anguish and emotional distress,

                       humiliation, depression, embarrassment, stress and anxiety, loss of self-esteem, self-confidence
COLLINS LEGAL GROUP
20 S. Charles Street
Suite 901              and personal dignity, and emotional pain and suffering and any other physical or mental
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                              E.      An award of damages in an amount to be determined at trial, plus prejudgment

                       interest, to compensate Plaintiff for harm to her professional and personal reputation and loss of

                       career fulfillment;

                              F.      An award of damages for any and all other monetary and/or non-monetary losses

                       suffered by Plaintiff in an amount to be determined at trial, plus prejudgment interest;

                              G.      An award of punitive damages;

                              H.      An award of costs that Plaintiff has incurred in this action, as well as Plaintiff’s

                       reasonable attorneys’ fees to the fullest extent permitted by law; and

                              I.      Such other and further relief as the Court may deem just and proper.



                                                               JURY DEMAND

                              Plaintiff hereby demands a trial by jury on all issues of fact and damages state herein.



                       Dated: December 28, 2022




                                                                             Respectfully submitted,
                                                                                 COLLINS LEGAL GROUP, LLC


                                                                             _________________________
                                                                             Tiffani S. Collins, Esquire
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